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                   1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
                      Charles K. Verhoeven (Bar No. 170151)
                     charlesverhoeven@quinnemanuel.com
                     50 California Street, 22nd Floor
                    San Francisco, California 94111
                     Telephone: (415) 875-6600
                    Facsimile: (415) 875-6700

                      Kevin P.B. Johnson (Bar No. 177129
                       kevinjohnson@quinnemanuel.com
                      Victoria F. Maroulis (Bar No. 202603)
                       victoriamaroulis@quinnemanuel.com
                    555 Twin Dolphin Drive, 5th Floor
                     Redwood Shores, California 94065-2139
                    Telephone:     (650) 801-5000
                     Facsimile:     (650) 801-5100
                   

                    Michael T. Zeller (Bar No. 196417)
                      michaelzeller@quinnemanuel.com
                  865 S. Figueroa St., 10th Floor
                    Los Angeles, California 90017
                  Telephone: (213) 443-3000
                    Facsimile: (213) 443-3100
                 

                  Attorneys for SAMSUNG ELECTRONICS CO.,
                    LTD., SAMSUNG ELECTRONICS AMERICA,
                  INC. and SAMSUNG
                    TELECOMMUNICATIONS AMERICA, LLC
                 

                                              UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

                 

                  APPLE INC., a California corporation,         CASE NO. 11-cv-01846-LHK

                                 Plaintiff,                     DECLARATION OF BILL TRAC IN
                                                                  SUPPORT OF SAMSUNG'S
                           vs.                                  ADMINISTRATIVE MOTION TO FILE
                                                                  DOCUMENTS UNDER SEAL
                  SAMSUNG ELECTRONICS CO., LTD., a
                    Korean business entity; SAMSUNG
                  ELECTRONICS AMERICA, INC., a New
                    York corporation; SAMSUNG
                  TELECOMMUNICATIONS AMERICA,
                    LLC, a Delaware limited liability company,
                 
                                  Defendant.
                 

                 
02198.51855/4687018.1                                                                Case No. 11-cv-01846-LHK
                           DECLARATION OF BILL TRAC IN SUPPORT OF SAMSUNG'S ADMINISTRATIVE MOTION TO FILE
                                                                                   DOCUMENTS UNDER SEAL
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                   1           I, Bill Trac, declare:

                              1.      I am an associate in the law firm of Quinn Emanuel Urquhart & Sullivan, LLP,

                    counsel for Samsung Electronics Co., Ltd., Samsung Electronics America, Inc. and Samsung

                   
                        Telecommunications America, LLC (collectively, “Samsung”). Unless otherwise indicated, I have
                   
                        personal knowledge of the facts set forth in this declaration and, if called upon as a witness, I
                   
                        could and would testify as follows.
                   
                               2.      The requested relief is necessary to protect the confidentiality of information
                   

                    contained in Samsung’s Opposition to Apple’s Motion for Partial Summary Judgment, the

                  Declaration of David Hecht (“Hecht Declaration”), and Exhibits H, J1-J11, K1-K3, L, M, P1-P2,

                  and S1-S2 to the Hecht Declaration.

                 
                               3.      Exhibit H to the Hecht Declaration is a presentation made by Samsung to Apple,
                 
                        and contains information about licensing proposals that Samsung made to Apple. This document,
                 
                        which Samsung has designated “Confidential Business Information – Subject to Protective Order”
                 

                  in the 337-ITC-796 action between Samsung and Apple, contains information that is confidential

                  and proprietary to Samsung, and could be used to its disadvantage by competitors if it were not

                  filed under seal.

                             4.      Exhibits J1-J11 to the Hecht Declaration are letters between Apple and Samsung
                 
                        discussing licensing to Samsung’s patents. These documents, which Samsung has designated
                 
                        “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” contain information that is
                 
                        confidential and proprietary to Samsung, and could be used to its disadvantage by competitors if it
                 

                  were not filed under seal.

                             5.      Exhibits K1-K3 to the Hecht Declaration are license agreements between Samsung

                  and Intel. These documents, which Samsung has designated “Confidential Business Information –

                 
                        Subject to Protective Order” in the 337-ITC-794 action between Samsung and Apple, contains
                 
02198.51855/4687018.1
                                                                                        Case No. 11-cv-01846-LHK
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                   1 information that is confidential and proprietary to Samsung, and could be used to its disadvantage

                   2 by competitors if it were not filed under seal.

                   3
                               6.      Exhibit M is a declaration and attachments from Carl D. Herbert, an employee of
                   4
                        Intel. It contains confidential third-party sales information relating to Intel’s sales to Apple. This
                   5
                        document, which Samsung has designated “Confidential Business Information – Subject to
                   6
                        Protective Order” in the 337-ITC-794 action between Samsung and Apple, contains information
                   7

                   8 that is confidential and proprietary to Intel, and could be used to its disadvantage by competitors if

                   9 it were not filed under seal.

                 10            7.      Exhibit P2 is an excerpt from the deposition of Gert van Lieshout. It contains
                 11
                        confidential information related to Samsung’s internal intellectual property policies. This
                 12
                        deposition was designated by Samsung as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                 13
                        ONLY,” contains information that is confidential and proprietary to Samsung, and could be used
                 14

                 15 to its disadvantage by competitors if it were not filed under seal.

                 16            8.      The confidential, unredacted version of the Hecht Declaration discusses and

                 17 references the information contained in the documents described in paragraphs 3-7 above, and

                 18 should therefore be sealed for the same reasons.

                 19
                               9.      The confidential, unredacted version of Samsung’s Opposition to Apple’s Motion
                 20
                        for Partial Summary Judgment discusses and references the information contained in paragraphs
                 21
                        3-7 above, and should also therefore be sealed for the same reasons.
                 22

                 23

                 24            I declare under penalty of perjury that the foregoing is true and correct. Executed in

                 25 Redwood Shores, California on April 2, 2012.

                 26
                                                                               /s/ Bill Trac__________________
                 27
                                                                               Bill Trac
                 28
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                   1                               GENERAL ORDER ATTESTATION

                   2         I, Victoria Maroulis, am the ECF user whose ID and password are being used to file the
                   3 foregoing document.     I hereby attest pursuant to General Order 45.X.B. that concurrence in the
                   4 electronic filing of this document has been obtained from Bill Trac.

                   5                                                      /s/ Victoria Maroulis
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                                                                                    DOCUMENTS UNDER SEAL
